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 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8
     DAYBREAK YOUTH SERVICES,
 9   individually and on behalf of its former and       NO.
     current patients;
10                                                      DECLARATION. OF MICHAEL
                        Plaintiff,                      TROTTER IN SUPPORT OF
11                                                      PLAINTIFFS' MOTION FOR
              V.                                        TEMPORARY RESTRAINING
12                                                      ORDER
     CHUCK ATKINS, in his official capacity as
13   Clark County Sheriff, MIKE COOKE, in his
     official capacity as Clark County
14   Undersheriff, and CHRISTOPHER LUQUE,
     in his official capacity as Clark County
15   Sheriffs Office Sergeant, ADAM BECK, in
     his official capacity as Clark County Sheriffs
16   Office Detective, and BRENT WAD DELL, in
     his official capacity as Clark County Sheriffs
17   Office Sergeant,
18                      Defendants.
19            I, MICHAEL TROTTER, hereby declare as follows:

20            I.    My name is Michael Trotter. I am over the age of 18 and am otherwise

21   competent to be a witness in this proceeding. I make this declaration based upon my personal

22   knowledge except as otherwise set forth. I am the Risk Manager for Daybreak Youth Services

23   ("Daybreak") and formerly held the title of Vice President of Compliance. I make this

24   declaration in support of Plaintiff Daybreak Youth Services' Motion for Temporary Restraining

25   Order.

26            2.     On or about August 22, 2018, the receptionist for Daybreak's Brush Prairie,


     DECLARATION OF MICHAEL TROTTER IN SUPPORT OF                     GARVEY SCHUBERT BARER,         P.C.
                                                                                 eighteenth floor
     PLAINTIFFS' MOTION FOR TEMPORARY RESTRAINING ORDER-                       1191 second avenue
                                                                        seattle, washing/on 91110/-2939
     1                                                                           206 ./6./ 3939
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                                      CERTIFICATE OF SERVICE
 2            I, Patricia Shillington, certify under penalty of perjury under the laws of the State of
 3
     Washington that, on June 7, 2019, I caused to be served on the person( s) listed below the
 4
     foregoing Declaration of Michael Trotter in Support of Plaintiff Daybreak Youth Services'
 5
     Motion for Temporary Restraining Order.
 6

 7
     Emily Sheldrick                                          ~        United States Mail, First Class
 8   Leslie Lopez                                             D        By Legal Messenger
 9
     Clark County Prosecuting Attorney's Office               D        By Facsimile
     Civil Division                                           D        By Federal Express
10   P.O. Box 5000                                            ~        By Email
     Vancouver, WA 98666
11   Emily.sheldrick@clark. wa. gov
     Leslie .lopez@clark. wa. gov
12

13
              DATED this 7th day of June, 2019.
14

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                                                            ~~h
                                                            Patricia ShillillgtOil
16

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     GSB: 10324559.2
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     DECLARATION OF MICHAEL TROTTER IN SUPPORT OF                          GARVEY SCHUBERT BARER,        P.C.
                                                                                     eighteenth floor
     PLAINTIFFS' MOTION FOR TEMPORARY RESTRAINING ORDER -                          119/ second avenue
                                                                            seal/le, wash1ngton 98101-2939
     5                                                                                206 ./6./ 3939
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          EXHIBIT A
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                                                Bradley W. Andersen

LAN DERHOLM                                     805 Broadway Street
                                                Suite 1000
                                                                          T: (360) 816-2548
                                                                          T: (503) 283-3393
                                                PO Box 1086               F: (369) 816-2549
Legal advisors. Trusted advocates.              Vancouver, WA 98666       E: brad.andersen@landerholm.com




VIA EMAIL and U.S. REGULAR MAIL
                                                                           August 22, 2018

Chuck Atkins, Clark County Sheriff
707 W. 13th Street
Vancouver, WA 98666
sheriff@clark.wa.gov

Tony Golik, Clark County Prosecutor
1013 Franklin Street
Vancouver, WA 98660
Tony.Golik@clark.wa.gov

       Re:     Daybreak Youth Services

Dear Sheriff Atkins and Mr. Golik:

       Please be advised that we serve as general counsel for the Daybreak Youth Facility in
Brush Prairie.

        Sheriff Atkins just advised our Board's president that Daybreak was under criminal
investigation. However, Sheriff Atkins declined to reveal anything more than this (i.e. the scope
or nature of the investigation). This came as quite a shock to our client.

        Our client was also disappointed to hear that the Sheriff would not meet with Daybreak to
discuss protocols for Daybreak's staff to be able to work with the Sheriff on future juvenile
issues. Daybreak has a long and good history of working with local law enforcement agencies in
providing services to at risk youth.

     Daybreak is committed to cooperating with the County to address any concerns.
However, the specter of being under a criminal investigation is of great concern.

        Daybreak has instructed its staff to fully cooperate with any investigation but please
contact me before contacting any of Daybreak's managers, officers or directors if in fact they are

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                                     www.ianderhoim.com
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Letter to Sheriff Atkins & Prosecutor Tony Golik
Re: Daybreak Youth Services
August 22, 2018
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the subject or target of any criminal investigation.

Sincerely,



BRADLEY W. ANDERSEN
Attorney at Law

BWA:kam

cc:     Clients (via email only)
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          EXHIBIT B
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